    Case 6:14-cr-06136-FPG-JWF                 Document 421            Filed 08/15/17        Page 1 of 9




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
________________________________________________

UNITED STATES OF AMERICA,
                                                   Plaintiff,

                                                                              Case #14-CR-6136-FPG
       v.
                                                                              DECISION AND ORDER

COLIN MONTAGUE, et al.,
                                    Defendants.
________________________________________________


                                            INTRODUCTION

       A second superseding indictment in this case charges Defendant Colin Montague, along

with fourteen other individuals and one corporation, with various offenses relating to narcotics

trafficking and money laundering. ECF No. 55. As relevant here, Montague has moved to

suppress three categories of evidence: (1) evidence obtained from wiretaps of his cell phones; (2)

evidence obtained from wiretaps of his co-defendants’ cell phones; and (3) evidence obtained from

searches of his residence. ECF Nos. 149, 332. In the alternative, Montague requests a hearing

under Franks v. Delaware, 438 U.S. 154 (1978), on the grounds that the government made material

misrepresentations and omissions in its warrant applications. Id.

       Magistrate Judge Jonathan W. Feldman (“Judge Feldman”) 1 issued two Report and

Recommendations (“R&Rs”), recommending that Montague’s motions be denied. ECF Nos. 257,

375. Montague filed objections, see ECF Nos. 334, 405, and the government has responded, see

ECF Nos. 358, 406. Pursuant to 28 U.S.C. § 636(b)(1)(C), this Court has conducted a de novo

review of Judge Feldman’s rulings and considered all of the parties’ submissions to date. For the

reasons stated below, the Court adopts Judge Feldman’s R&Rs in their entirety.




1
       All pretrial matters were referred to Judge Feldman pursuant to 28 U.S.C. § 636(b).
         Case 6:14-cr-06136-FPG-JWF              Document 421           Filed 08/15/17         Page 2 of 9




                                                DISCUSSION

           The evidence Montague seeks to suppress was seized pursuant to a series of warrants issued

by Monroe County Court Judge Victoria M. Argento (“Judge Argento”). Those warrants were

issued on the basis of sworn affidavits by Sabbatino Smith, a Special Agent with the federal Drug

Enforcement Administration (“Agent Smith”). 2

           Montague’s motions and objections are prolix and contain a multitude of repetitive

arguments. 3      For the purpose of this decision, the Court groups those arguments into three

categories. First, Montague argues that the warrant applications at issue here—for wiretaps of his

cell phones, for wiretaps of the cell phones of his co-defendants, and for the search 4 of his

residence—were not supported by probable cause. Second, Montague argues that the wiretap

applications failed to establish that wiretaps were necessary as required by 18 U.S.C. § 2518.

Third, Montague argues that misrepresentations and omissions in Agent Smith’s applications call

for a Franks hearing. The Court will address these arguments in turn.

    I.     Probable Cause

           The Fourth Amendment provides that “no Warrants shall issue, but upon probable cause,

supported by Oath or affirmation, and particularly describing the place to be searched, and the

persons or things to be seized.” U.S. Const. amend. IV. Probable cause “is a fluid concept—

turning on the assessment of probabilities in particular factual contexts—not readily, or even

usefully, reduced to a neat set of legal rules.” Illinois v. Gates, 462 U.S. 213, 232 (1983). When



2
         Montague attached the warrant applications to his second set of motion papers. See ECF No. 332. In addition
to the Agent Smith applications, Montague attached a wiretap application submitted by Investigator Scott Hill of the
Rochester Police Department for a phone number allegedly utilized by Tahjmin J. Oliver. ECF No. 332-9, Ex. 6.
However, Montague does not make any legal or factual arguments with respect to this application.
3
         For example, Judge Feldman’s first R&R (ECF No. 257) is 16 pages long, yet Montague’s motion to
“reopen/reconsider” that R&R (ECF No. 332) contains a 75-page “attorney affidavit.” Judge Feldman’s second R&R
(ECF No. 375) is 12 pages long, while Montague’s objections to that R&R (ECF No. 405) are 72 pages long.
4
         Montague puts forth arguments regarding search warrant applications dated August 14, 2012 and June 26,
2014. Because the government has indicated that it does not intend to use any evidence seized pursuant to the August
2012 warrant, see ECF No. 358, at 6 n.1, only the June 2014 warrant is at issue here.
                                                         2
    Case 6:14-cr-06136-FPG-JWF                Document 421           Filed 08/15/17            Page 3 of 9




presented with a warrant application, the issuing magistrate’s duty “is simply to make a practical,

common-sense decision whether, given all the circumstances set forth in the affidavit before him

[or her], . . . there is a fair probability that contraband or evidence of a crime will be found in a

particular place.” Id. at 238. This standard “requires only a probability or substantial chance of

criminal activity, not an actual showing of such activity.” Id. at 245 n.13. The relevant inquiry

“is not whether particular conduct is ‘innocent’ or ‘guilty,’ but the degree of suspicion that attaches

to particular types of non-criminal acts.” Id.

       Further, this Court is mindful of the fact that Judge Argento’s determination of probable

cause is entitled to great deference. Id. at 236. In reviewing that determination, this Court’s role

is not to conduct a de novo review but rather to ensure that Judge Argento had a “substantial basis”

for concluding that probable cause existed. Id. at 238-39; see also United States v. Wagner, 989

F.2d 69, 72 (2d Cir. 1993).

       Here, Montague argues that Judge Argento’s determination of probable cause “was

unreasonably based solely on the unsupported opinion of [Agent Smith] as to the true meaning of

facially innocent language in telephone conversations.” ECF No. 405, at 4-5 (emphasis in

original). This argument fails for two reasons.

       First, although Agent Smith’s affidavits do rely heavily on information gleaned from

intercepted phone calls and text messages, 5 they also cite information from confidential sources

and police surveillance. For example, in his wiretap application regarding a cell phone belonging

to co-defendant Antoine Shannon, Agent Smith indicated that he received information from CS-

2, a confidential source who is cooperating as a result of an arrest. CS-2 told Agent Smith that

Collin Thomas has a cocaine source in Rochester, New York by the name of “Twan” and that

Twan sells kilogram quantities of cocaine for between $39,000 and $40,000 per kilogram. Agent


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       These communications were acquired pursuant to wiretaps that are not challenged here.
                                                      3
    Case 6:14-cr-06136-FPG-JWF                   Document 421         Filed 08/15/17   Page 4 of 9




Smith averred that he personally knows CS-2 and that CS-2 has proved reliable by providing Agent

Smith and other law enforcement officers with independently-corroborated information regarding

narcotics trafficking. Judge Argento’s reliance on information provided by CS-2 was proper, and

such information provided context to evaluate the meaning of Antoine Shannon’s intercepted

communications with Collin Thomas. See United States v. Sultan, 463 F.2d 1066, 1068-69 (2d

Cir. 1972) (“A recitation that an unnamed informant has previously supplied accurate information

is sufficient to justify reliance on the informant’s story”).

        Second, while the intercepted communications cited by Agent Smith do not contain

explicit, self-evident references to drug trafficking, it was not improper for Judge Argento to

consider Agent Smith’s interpretations of those communications. As the Second Circuit has

recognized, “drug dealers rarely speak openly about their trade.” United States v. Cancelmo, 64

F.3d 804, 808 (2d Cir. 1995) (quoting United States v. Sisca, 503 F.2d 1337, 1343 (2d Cir. 1974));

United States v. Garcia, 291 F.3d 127, 139 (2d Cir. 2002) (“[D]rug dealers seldom negotiate the

terms of their transactions with the same clarity as business persons engaged in legitimate

transactions.”). Agent Smith averred that based on his training and experience, 6 he is “familiar

with the jargon of narcotics and the way narcotics and other illicit drug users and sellers seek to

disguise activity relating to drug trafficking.”

        Of course, the government will have to lay the proper foundation under the Federal Rules

of Evidence if it seeks to present Agent Smith’s interpretations as evidence at trial. Garcia, 291

F.3d at 139-142. But the question now is simply whether Agent Smith’s interpretations gave Judge

Argento a sufficient basis to conclude that probable cause existed. In making that determination,

Judge Argento was entitled to rely on Agent Smith’s training and experience. United States v.

Gaskin, 364 F.3d 438, 456-57 (2d Cir. 2004) (“[C]ourts recognize that experience and training


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        Agent Smith’s affidavits describe his background in detail.
                                                        4
       Case 6:14-cr-06136-FPG-JWF         Document 421        Filed 08/15/17      Page 5 of 9




may allow a law enforcement officer to discern probable cause from facts and circumstances where

a layman might not.”).

         Based on this Court’s review of the affidavits submitted by Agent Smith—for the wiretaps

of Montague’s cell phones, for the wiretaps of his co-defendants’ cell phones, and for the search

of Montague’s residence—the Court agrees with Judge Feldman that in each case Judge Argento

had a substantial basis for concluding that probable cause existed.

 II.     Necessity for Wiretaps

         Each application for wiretap authorization must include, among other things, “a full and

complete statement as to whether or not other investigative procedures have been tried and failed

or why they reasonably appear to be unlikely to succeed if tried or to be too dangerous.” 18 U.S.C.

§ 2518(1)(c). A judge may approve the application only after determining that such a showing has

been made. Id. § 2518(3)(c).

         This requirement is designed to strike the appropriate balance between the needs of law

enforcement officials and the privacy rights of the individual. United States v. Concepcion, 579

F.3d 214, 218 (2d Cir. 2009) (quoting United States v. Miller, 116 F.3d 641, 663 (2d Cir. 1997)).

Thus, “the question is not whether a wiretap provides the simplest, most efficient means of

conducting an investigation; telephonic surveillance may only be used when it is necessary to assist

in law enforcement.” Id. At the same time, “the Government is not required to exhaust all

conceivable investigative techniques before resorting to electronic surveillance. The statute only

requires that the agents inform the authorizing judicial officer of the nature and progress of the

investigation and of the difficulties inherent in the use of normal law enforcement methods.” Id.

(quoting United States v. Diaz, 176 F.3d 52, 111 (2d Cir. 1999)) (internal quotations omitted). In

the context of a narcotics conspiracy investigation, the necessity requirement may be satisfied by

“an affidavit describing how traditional investigative techniques had failed to provide more than


                                                 5
    Case 6:14-cr-06136-FPG-JWF              Document 421      Filed 08/15/17      Page 6 of 9




‘a limited picture’ of [the] narcotics organization.” United States v. Valdez, No. 90-CR-793, 1991

WL 41590, at *2 (S.D.N.Y. Mar. 19, 1991) (quoting United States v. Torres, 901 F.2d 205, 232

(2d Cir. 1990)), aff’d, 952 F.2d 394 (2d Cir. 1991).

        Again, it is important to note that this Court’s review of Judge Argento’s determination is

not de novo; rather, this Court’s role is simply to ensure that the facts set forth in Agent Smith’s

affidavits were “minimally adequate” to support her conclusion that wiretaps were necessary.

Concepcion, 579 F.3d at 217 (quoting United States v. Miller, 116 F.3d 641, 663 (2d Cir. 1997)).

        After reviewing the wiretap applications at issue here, the Court finds that they were

adequate to support the finding that traditional investigative techniques appeared unlikely to

succeed. In each of Agent Smith’s affidavits, he describes in detail why conventional investigative

techniques have not and will not succeed in achieving the particular goals of his investigation.

Specifically, Agent Smith describes the inability of informants and undercover officers to provide

a complete understanding of the structure of the narcotics organization and its leadership; the

limitations of physical surveillance in identifying locations and vehicles used by the organization

in the distribution and storage of narcotics; the dangers of physical harm and detection associated

with the use of informants and law enforcement surveillance; the incomplete information that

might be obtained by the use of search warrants alone; and the impracticalities of using a grand

jury to investigate the targets of their investigation.

        Montague argues that Agent Smith’s affidavits were inadequate because he repeated the

same reasons in each of his wiretap applications. The Court disagrees. As Judge Feldman

explained, “[t]here are reasons why wiretaps are often the most effective investigative technique

in scrutinizing complex narcotic distribution networks and those reasons do not necessarily change

from investigation to investigation. . . . Just because Agent Smith repeated the reasons why

eavesdropping was needed in wiretap applications involving multiple phones in the same drug


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       Case 6:14-cr-06136-FPG-JWF           Document 421          Filed 08/15/17      Page 7 of 9




distribution conspiracy does not negate the validity or the legitimacy of his explanation.” ECF

No. 375, at 8-9. As long as the statutory requirements are met for each wiretap application, as they

were in this case, this Court sees no reason why the use of the same or similar language in multiple

applications is somehow illegitimate. In reviewing each wiretap application, the issue is simply

whether Agent Smith has adequately explained why normal investigative techniques were not

feasible—regardless of whether such explanation mirrors similar statements by Agent Smith made

in connection with past applications. United States v. Rivera, 198 F.R.D. 48, 50 (W.D.N.Y. 1999).

         Montague next argues that Agent Smith’s affidavits were deficient because he failed to

show that other investigative techniques had actually been tried as to the particular target of each

wiretap.    This argument is similarly unavailing.        Section 2518 requires that each wiretap

application include a statement as to “whether or not other investigative procedures have been tried

and failed or why they reasonably appear to be unlikely to succeed if tried or to be too dangerous.”

18 U.S.C. § 2518(1)(c) (emphasis added).           Thus, while showing that normal investigative

procedures have actually been tried and failed is a perfectly legitimate basis to satisfy section

2518(1)(c), it is not the only way to do so. Here, it was sufficient for Agent Smith to describe why

other investigative procedures, if tried, would be unlikely to serve the goals of his investigation.

III.     Franks Hearing

         Lastly, Montague has moved for a hearing under Franks v. Delaware, 438 U.S. 154 (1978).

Franks hearings are used by courts to determine whether officers made untruthful statements or

omissions in their application for a search warrant. “To be entitled to a Franks hearing, a defendant

must make a ‘substantial preliminary showing’ that: (1) the claimed inaccuracies or omissions are

the result of the affiant’s deliberate falsehood or reckless disregard for the truth; and (2) the alleged

falsehoods or omissions were necessary to the judge’s probable cause finding.” United States v.




                                                   7
    Case 6:14-cr-06136-FPG-JWF            Document 421        Filed 08/15/17     Page 8 of 9




Salameh, 152 F.3d 88, 113 (2d Cir. 1998) (citing United States v. Levasseur, 816 F.2d 37, 43 (2d

Cir. 1987)).

       With respect to omissions, it is important to note that “an affiant cannot be expected to

include in an affidavit every piece of information gathered in the course of an investigation . . .

Franks protects against omissions that are designed to mislead, or that are made in reckless

disregard of whether they would mislead, the magistrate.” United States v. Rajaratnam, 719 F.3d

139, 154 (2d Cir. 2013) (quoting United States v. Awadallah, 349 F.3d 42, 68 (2d Cir. 2003)

(emphasis in original)).

       Here, Montague has failed to make the threshold showing necessary to warrant a Franks

hearing because he has not identified any statements or omissions in Agent Smith’s affidavits that

were false or misleading. Rather, Montague’s arguments in this context are essentially a rehash

of the arguments discussed above. For example, Montague argues that Agent Smith made false

and misleading statements when he interpreted certain intercepted communications as being drug-

related and when he gave significance to facially innocent meetings between alleged members of

the “Montague Drug Trafficking Organization.” But Agent Smith’s opinions are not statements

of fact at all, and Agent Smith’s affidavits make that clear by prefacing his interpretations with

transcriptions of the conversations at issue and prefacing his opinions regarding meetings with a

detailed description of what activities were actually observed by law enforcement. As discussed

above, Judge Argento properly relied on Agent Smith’s training and experience to make her

probable cause determination.

       Further, even if Montague could show that any statements or omissions in Agent Smith’s

affidavits were false or misleading, he has not presented anything that would suggest Agent

Smith’s affidavits were “designed to mislead” or that he acted with “reckless disregard of the

truth.” Rajaratnam, 719 F.3d at 154 (“[T]he reviewing court must be presented with credible and


                                                8
    Case 6:14-cr-06136-FPG-JWF           Document 421        Filed 08/15/17     Page 9 of 9




probative evidence that the omission of information in a wiretap application was designed to

mislead or was made in reckless disregard of whether it would mislead.”) (internal quotations and

alterations omitted). Therefore, Judge Feldman correctly denied Montague’s request for a Franks

hearing.

                                        CONCLUSION

       For the reasons stated above, Judge Feldman’s R&Rs (ECF Nos. 257, 375) are ADOPTED

IN THEIR ENTIRETY. Montague’s motions to suppress (ECF Nos. 149, 332) are DENIED.

       IT IS SO ORDERED.

Dated: August 15, 2017
       Rochester, New York

                                            ______________________________________
                                            HON. FRANK P. GERACI, JR.
                                            Chief Judge
                                            United States District Court




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